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             UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF TEXAS
                 FORT WORTH DIVISION


 Greer’s Ranch Café, et al.,

                       Plaintiffs,
                                               Case No. 4:21-cv-00651-O
 v.

 Isabella Casillas Guzman, et al.,

                       Defendants.


          NOTICE OF DISMISSAL UNDER RULE 41(a)(1)(A)(i)
      Plaintiffs Greer’s Ranch Café and Philip Greer dismiss their action under Rule
41(a)(1)(A)(i), without prejudice. Each party will bear its own costs and fees.

                                            Respectfully submitted.

                                             /s/ Jonathan F. Mitchell
 Gene P. Hamilton*                          Jonathan F. Mitchell
 Virginia Bar No. 80434                     Texas Bar No. 24075463
 Vice-President and General Counsel         Mitchell Law PLLC
 America First Legal Foundation             111 Congress Avenue, Suite 400
 300 Independence Avenue SE                 Austin, Texas 78701
 Washington, DC 20003                       (512) 686-3940 (phone)
 (202) 964-3721                             (512) 686-3941 (fax)
 gene.hamilton@aflegal.org                  jonathan@mitchell.law

 Charles W. Fillmore                        Robert Henneke
 H. Dustin Fillmore                         Texas Bar No. 24046058
 The Fillmore Law Firm, L.L.P.              Texas Public Policy Foundation
 201 Main Street, Suite 801                 901 Congress Avenue
 Fort Worth, Texas 76102                    Austin, Texas 78735
 (817) 332-2351 (phone)                     (512) 472-2700 (phone)
 (817) 870-1859 (fax)                       rhenneke@texaspolicy.com
 chad@fillmorefirm.com
 dusty@fillmorefirm.com
                                            Counsel for Plaintiffs and
 Dated: May 19, 2021                        the Proposed Class




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                      CERTIFICATE OF SERVICE
    I certify that on May 19, 2021, I served this document through CM/ECF on all

counsel of record.

                                        /s/ Jonathan F. Mitchell
                                       Jonathan F. Mitchell
                                       Counsel for Plaintiffs




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